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 1   JOSEPH A. WELCH, ESQ.
     Law Offices Joseph A. Welch
 2   828 University Avenue
 3   Sacramento, California 95825
     (916) 444-5501
 4   joewelchlaw@yahoo.com

 5

 6                                   UNITED STATES DISTRICT COURT

 7                                   EASTERN DISTRICT OF CALIFORNIA

 8

 9   UNITED STATES OF AMERICA,                        Case No. 2:12-CR-0322 GEB

10                      Plaintiff,

11            v.                                      STIPULATION AND PROPOSED ORDER
                                                      TO CONTINUE THE STATUS
12   TATYANA SHVETS, et. al.,                         CONFERENCE FROM NOVEMBER 4,
                                                      2016 TO JANUARY 6, 2017
13                      Defendants.

14

15            IT IS HEREBY STIPULATED AND AGREED between the parties and their attorneys,

16   Heiko Coppolla, Assistant United States Attorney, Kenny N. Giffard, attorney for Aleksandr

17   Lastovski, Joseph A. Welch, attorney for Tatyana Shvets, Kelly Babineau, attorney for Andrey

18   Lungu, and Robert M. Wilson, attorney for Aleksandr Maslov, that the status conference date of

19   Friday, November, 2016, should be continued to Friday, January 6, 2017. The continuance is

20   necessary, as counsel are still reviewing discovery, meeting with the respective clients and

21   investigating information as well as researching various possible resolutions.

22            IT IS SO STIPULATED that the period of time from November 4, 2016, up to and

23   including January 6, 2017.

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                        STIPULATION AND PROPOSED ORDER TO CONTINUE STATUS CONFERENCE
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 1          Accordingly, the time between November 4, 2016 and January 6, 2017 should be

 2   excluded from the Speedy Trial calculation pursuant to Title 18, United States Code, Section

 3   3161(h)(7)(B)(iv) and Local Code T-4 for defense preparation. The parties stipulate that the ends

 4   of justice served by granting this continuance outweigh the best interests of the public and the

 5   defendant in a speedy trial. 18 U.S.C. Section 3161(h)(7)(A).

 6
            November 1, 2016                        /s/ Kenny N. Giffard
 7                                                 KENNY N. GIFFARD
                                                   Attorney for Alexsandr Lastovskiy
 8

 9          November 1, 2016                        /s/ Joseph A. Welch
                                                   JOSEPH A. WELCH
10                                                 Attorney for Tatyana Shvets
11
            November 1, 2016                        /s/ Kelly Babineau
12                                                 KELLY BABINEAU
                                                   Attorney for Andrey Lungu
13

14          November 1, 2016                        /s/ Robert M. Wilson
                                                   ROBERT M. WILSON
15                                                 Attorney for Aleksandr Maslov
16
            November 1, 2016                        /s/ Heiko Coppola
17                                                 HEIKO COPPOLA
                                                   Attorney for the United States
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20          IT IS SO ORDERED.
            The status conference presently set for November 4, 2016 at 9:00 A.M., is hereby
21   continued to January 6, 2017 at 9:00 A.M., and time under the Speedy Trial Act will be excluded
22   from November 4, 2016 through January 6, 2017 pursuant to Title 18, United States Code,
     Section 3161(h)(7)(B)(iv) and Local Code T-4 for defense preparation, based on the
23   representations of the parties in their stipulation. The Court finds that the ends of justice served
     by granting this continuance outweigh the best interests of the public and the defendant in a
24   speedy trial.
25   Dated: November 1, 2016
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                        STIPULATION AND PROPOSED ORDER TO CONTINUE STATUS CONFERENCE
